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                    EXHIBIT M
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                                                                          Exhibit A



                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    CHARLESTON DIVISION

   In re Boston Scientific Corp. Pelvic Repair System                              MDL No. 2326
   Products Liability Litigation

    _____________________________________________________________________________

                 MASTER LONG FORM COMPLAINT AND JURY DEMAND

          Plaintiffs, by and through their counsel, bring this Master Long Form Complaint (Master

   Complaint) as an administrative device to set forth potential claims individual Plaintiffs may

   assert against Defendants in this litigation.    By operation of the Order of this Court, all

   allegations pled herein are deemed pled in any Short Form Complaint hereafter filed.

                                PARTIES, JURISDICTION & VENUE

                                           PLAINTIFFS

                                                   1.

          Plaintiffs include women who had one or more of Defendants’ Pelvic Mesh Products (the

   “Products”) listed in Paragraph 7 of this Master Complaint inserted in their bodies to treat

   medical conditions, primarily pelvic organ prolapse (POP) and stress urinary incontinence (SUI),

   or other products as identified in Paragraphs 8 and 9 of the Short Form Complaint. Plaintiffs

   also include the spouses of some of said women, as well as others with standing to file claims

   arising from the Products.
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                                          DEFENDANTS

                                                 2.

          Defendant(s) is/are the following or more entities as identified in the Short Form

   Complaint:

           a) Boston Scientific Corporation (Boston Scientific);

           b) American Medical Systems, Inc.;

           c) Johnson & Johnson;

           d) Ethicon, Inc.;

           e) C. R. Bard, Inc. (Bard);

           f) Sofradim Production SAS (Sofradim); and/or

           g) Tissue Science Laboratories, Ltd. (TSL).

          To the extent Plaintiffs have asserted claims against one of the above-named

   Defendant(s) in b. through g., Plaintiffs hereby incorporate by reference as if fully set forth

   herein the Master Long Form Complaint of that Defendant’s respective MDL.

                                                 3.

          Boston Scientific is a Delaware corporation with its corporate headquarters in

   Massachusetts. All acts and omissions of Boston Scientific as described herein were done by its

   agents, servants, employees and/or owners, acting in the course and scope of their respective

   agencies, services, employments and/or ownership.




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                                    JURISDICTION AND VENUE

                                                    4.

           Federal subject matter jurisdiction in the constituent actions is based upon 28 U.S.C. §

   1332(a), in that in each of the constituent actions there is complete diversity among Plaintiffs and

   Defendant(s) and the amount in controversy exceeds $75,000.

                                                    5.

           Defendant(s) have significant contacts with the federal judicial district identified in the

   Short Form Complaint such that they are subject to the personal jurisdiction of the court in said

   district.

                                                    6.

           A substantial part of the events and omissions giving rise to Plaintiffs’ causes of action

   occurred in the federal judicial district identified in the Short Form Complaint. Pursuant to 28

   U.S.C. § 1391(a), venue is proper in said district.

                                  THE PELVIC MESH PRODUCTS

                                                    7.

           Defendant Boston Scientific’s Pelvic Mesh Products (the “Products”) include, at least,

   the following:

               a) The Uphold Vaginal Support System;

               b) The Pinnacle Pelvic Floor Repair Kit;

               c) The Advantage Transvaginal Mid-Urethral Sling System;

               d) The Advantage Fit System;

               e) The Lynx Suprapubic Mid-Urethral Sling System;

               f) The Obtryx Transobturator Mid-Urethral Sling System;




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              g) The Prefyx PPS System; and

              h) The Solyx SIS System.

                                                    8.

          Boston Scientific designed, manufactured, packaged, labeled, marketed, sold, and

   distributed the following Pelvic Mesh Products, including that which was implanted in any

   Plaintiff so indicated in a Short Form Complaint: Pinnacle Pelvic Floor Repair Kit, Uphold

   Vaginal Support System, Advantage Transvaginal Mid-Urethral Sling System, Advantage Fit

   System, Lynx Suprapubic Mid-Urethral Sling System, Obtryx Transobturator Mid-Urethral Sling

   System, Prefyx PPS System, Solyx SIS System, and/or Other.

                                     FACTUAL BACKGROUND

                                                    9.

          Defendants’ Pelvic Mesh Products contain monofilament polypropylene mesh and/or

   collagen. Despite claims that polypropylene is inert, the scientific evidence shows that this

   material as implanted in the relevant female Plaintiff set forth in the Short Form Complaint is

   biologically incompatible with human tissue and promotes a negative immune response in a

   large subset of the population implanted with the Products. This negative response promotes

   inflammation of the pelvic tissue and can contribute to the formation of severe adverse reactions

   to the mesh. Furthermore, Defendants’ collagen products cause hyper-inflammatory responses

   leading to problems including chronic pain and fibrotic reaction. Defendants’ collagen products

   disintegrate after implantation in the female pelvis. The collagen products cause adverse tissue

   reactions, and are causally related to infection, as the collagen is a foreign material derived from

   animal and/or human tissue. The collagen is harsh upon the female pelvic tissue. When mesh is




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   inserted in the female body according to the manufacturers’ instructions, it creates a non-

   anatomic condition in the pelvis leading to chronic pain and functional disabilities.

                                                   10.

          Surgical mesh products have been used to repair abdominal hernias since the 1950s. In

   the 1970s, gynecologists began using surgical mesh products that were designed for hernia repair

   for abdominal repair to surgically repair prolapsed organs. In the 1990s, gynecologists began

   using this surgical mesh for the surgical treatment of POP and SUI. Manufacturers, including

   Boston Scientific, began to modify the mesh used in hernia repair to be used as products

   specifically intended to correct POP and/or SUI. Today, Boston Scientific sells pelvic mesh

   “kits” which can include not only the surgical mesh, but also tissue fixation anchors and insertion

   tools. The Products manufactured by Defendants are considered Class II medical devices.

                                                   11.

          Defendants sought and obtained FDA clearance to market the Products under Section

   510(k) of the Medical Device Amendment to the Food, Drug and Cosmetics Act. Section 510(k)

   provides for marketing of a medical device if the device is deemed “substantially equivalent” to

   other predicate devices marketed prior to May 28, 1976. No formal review for safety or efficacy

   is required, and no formal review for safety or efficacy was ever conducted by Boston Scientific

   with regard to the Products.

                                                   12.

          On July 13, 2011, the FDA issued a Safety Communication wherein the FDA stated that

   “serious complications associated with surgical mesh for transvaginal repair of POP are not

   rare” (emphasis in the original).




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                                                  13.

          The FDA Safety Communication also stated, “Mesh contraction (shrinkage) is a

   previously unidentified risk of transvaginal POP repair with mesh that has been reported in the

   published scientific literature and in adverse event reports to the FDA. Reports in the literature

   associate mesh contraction with vaginal shortening, vaginal tightening and vaginal pain.”

   (emphasis in original).

                                                  14.

          In a December 2011 Joint Committee Opinion, the American College of Obstetricians

   and Gynecologists (ACOG) and the American Urogynecologic Society (AUGS) also identified

   physical and mechanical changes to the mesh inside the body as a serious complication

   associated with vaginal mesh, stating:

                  There are increasing reports of vaginal pain associated with
                  changes that can occur with mesh (contraction, retraction, or
                  shrinkage) that result in taut sections of mesh . . . Some of these
                  women will require surgical intervention to correct the condition,
                  and some of the pain appears to be intractable.

                                                  15.

          The ACOG/AUGS Joint Committee Opinion also recommended, among other things,

   that “[p]elvic organ prolapse vaginal mesh repair should be reserved for high-risk individuals in

   whom the benefit of mesh placement may justify the risk.”

                                                  16.

          The injuries of the female Plaintiff, as will be more fully established in Discovery, are

   reported in the FDA Safety Communication and in the ACOG/AUGS Joint Committee Opinion.




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                                                   17.

          The FDA Safety Communication further indicated that the benefits of using transvaginal

   mesh products instead of other feasible alternatives did not outweigh the associated risks.

   Specifically, the FDA Safety Communication stated: “it is not clear that transvaginal POP repair

   with mesh is more effective than traditional non-mesh repair in all patients with POP and it may

   expose patients to greater risk.”

                                                   18.

          Contemporaneously with the Safety Communication, the FDA released a publication

   titled “Urogynecologic Surgical Mesh: Update on the Safety and Effectiveness of Transvaginal

   Placement for Pelvic Organ Prolapse” (the White Paper). In the White Paper, the FDA noted that

   the published, peer-reviewed literature demonstrates that “[p]atients who undergo POP repair

   with mesh are subject to mesh-related complications that are not experienced by patients who

   undergo traditional surgery without mesh.”

                                                   19.

          The FDA summarized its findings from its review of the adverse event reports and

   applicable literature stating that it “has NOT seen conclusive evidence that using transvaginally

   placed mesh in POP repair improves clinical outcomes any more than traditional POP repair that

   does not use mesh, and it may expose patients to greater risk.” (emphasis in original).

                                                   20.

          The FDA White Paper further stated that “these products are associated with serious

   adverse events . . . compounding the concerns regarding adverse events are performance data

   that fail to demonstrate improved clinical benefit over traditional non-mesh repair.”




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                                                     21.

           In its White Paper, the FDA advises doctors to, inter alia, “[r]ecognize that in most cases,

   POP can be treated successfully without mesh thus avoiding the risk of mesh-related

   complications.” The FDA concludes its White Paper by stating that it “has identified serious

   safety and effectiveness concerns over the use of surgical mesh for the transvaginal repair of

   pelvic organ prolapse.”

                                                     22.

           As is known to the Defendants, the risks associated with POP repair are the same as SUI

   repair. However, the data regarding the magnitude and frequency of these known risks are not as

   developed as the data on POP repair. The FDA recognized this, as demonstrated by its Section

   522 Orders issued to manufacturers of pelvic mesh products used to treat SUI in January of

   2012.

                                                     23.

           In September 2011, the FDA acknowledged the need for additional data and noted in

   “Surgical Mesh For Treatment of Women with Pelvic Organ Prolapse and Stress Urinary

   Incontinence” that the literature and information developing on SUI repair with mesh “indicates

   that serious complications can occur . . . [and] a case can be made for additional premarket

   and/or post market studies to better address the risk/benefit of all mesh products used for SUI.”

                                                     24.

           Defendants did not, and have not, adequately studied the extent of the risks associated

   with the Products. In January 2012, the FDA recognized the risk to women and mandated

   additional studies to further investigate these risks.




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                                                   25.

           Defendant(s) knew or should have known about the Products’ risks and complications

    identified in the FDA Safety Communication and the ACOG/AUGS Joint Committee Opinion.

                                                   26.

         Defendants knew or should have known that the Products unreasonably exposed patients to

    the risk of serious harm while conferring no benefit over available feasible alternatives that do

    not involve the same risks.

                                                   27.

         The scientific evidence shows that the material from which the Products are made is

    biologically incompatible with human tissue and promotes a negative immune response in a

    large subset of the population implanted with the Products, including the female Plaintiff named

    in the Short Form Complaint.

                                                   28.

           This negative response promotes inflammation of the pelvic tissue and contributes to the

    formation of severe adverse reactions to the mesh, such as those experienced by the female

    Plaintiff named in the Short Form Complaint.

                                                   29.

           The FDA defines both “degradation” and “fragmentation” as “device problems” to which

    the FDA assigns a specific “device problem code.” “Material Fragmentation” is defined as an

    “[i]ssue associated with small pieces of the device breaking off unexpectedly” and “degraded” as

    an “[i]ssue associated with a deleterious change in the chemical structure, physical properties, or

    appearance in the materials that are used in device construction.” The Products were

    unreasonably susceptible to degradation and fragmentation inside the body.




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                                                   30.

           The Products were unreasonably susceptible to shrinkage and contraction inside the body.

    Defendants should have known of this serious risk and warned physicians and patients.

                                                   31.

           The Products were unreasonably susceptible to “creep” or the gradual elongation and

    deformation when subject to prolonged tension inside the body.

                                                   32.

           To this day, the Products have been and continue to be marketed to the medical

    community and to patients as safe, effective, reliable, medical devices, implanted by safe and

    effective, minimally invasive surgical techniques, and as safer and more effective as compared to

    available feasible alternative treatments of pelvic organ prolapse and stress urinary incontinence,

    and other competing products.

                                                   33.

           A woman who elects to have her SUI or POP surgically treated has several options. SUI

    can be corrected through traditional abdominal surgery using sutures to attach the urethra to a

    ligament in the pelvis (known as the “Burch procedure”).     SUI can also be surgically addressed

    using synthetic materials placed under the urethra to provide support. POP can be corrected

    through abdominal or transvaginal surgery and using biologic, composite, or synthetic materials.

                                                   34.

           Defendants omitted and downplayed the risks, dangers, defects, and disadvantages of the

    Products, and advertised, promoted, marketed, sold and distributed the Products as safe medical

    devices when Defendants knew or should have known that the Products were not safe for their

    intended purposes, and that the Products would cause, and did cause, serious medical problems,




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    and in some patients, including the female Plaintiff named in the Short Form Complaint,

    catastrophic injuries. Further, while some of the problems associated with the Products were

    made known to physicians, the magnitude and frequency of these problems were not disclosed

    and were hidden from physicians.

                                                    35.

           Contrary to Defendants’ representations and marketing to the medical community and to

    the patients themselves, the Products have high rates of failure, injury, and complications, fail to

    perform as intended, require frequent and often debilitating re-operations, and have caused

    severe and irreversible injuries, conditions, and damage to a significant number of women,

    including the female Plaintiff named in the Short Form Complaint, making them defective under

    the law.

                                                    36.

           The specific nature of the Products’ defects includes, but is not limited to, the following:

           a) The use of polypropylene and collagen in the Products and the immune reactions that
              result from such material, causing adverse reactions and injuries;

           b) The design of the Products to be inserted into and through an area of the body with
              high levels of bacteria that can adhere to the mesh causing immune reactions and
              subsequent tissue breakdown and adverse reactions and injuries;

           c) Biomechanical issues with the design of the Products, including, but not limited to,
              the propensity of the Products to contract or shrink inside the body, that in turn cause
              surrounding tissue to be inflamed, become fibrotic, and contract, resulting in injury;

           d) The use and design of arms and anchors in the Products, which, when placed in the
              women, are likely to pass through contaminated spaces and that can injure major
              nerve routes in the pelvic region;

           e) The propensity of the Products for “creep,” or to gradually elongate and deform when
              subject to prolonged tension inside the body;

           f) the inelasticity of the Products, causing them to be improperly mated to the delicate
              and sensitive areas of the vagina and pelvis where they are implanted, and causing



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               pain upon normal daily activities that involve movement in the pelvic region (e.g.,
               intercourse, defecation, walking);

           g) The propensity of the Products for degradation or fragmentation over time, which
              causes a chronic inflammatory and fibrotic reaction, and results in continuing injury
              over time;

           h) The hyper-inflammatory responses to collagen leading to problems including chronic
              pain and fibrotic reaction;

           i) The propensity of the collagen products to disintegrate after implantation in the
              female pelvis, causing pain and other adverse reactions;

           j) The adverse tissue reactions caused by the products, which are causally related to
              infection, as the mesh is a foreign organic material from animals and/or human
              cadavers;

           k) The harshness of collagen upon the female pelvic tissue, and the hardening of the
              product in the body; and

           l) The creation of a non-anatomic condition in the pelvis leading to chronic pain and
              functional disabilities when the mesh is implanting according to the manufacturers’
              instructions.

                                                    37.

           The Products are also defective due to Defendants’ failure to adequately warn or instruct

    the female Plaintiff named in the Short Form Complaint and/or her health care providers of

    subjects including, but not limited to, the following:

           a) The Products’ propensities to contract, retract, and/or shrink inside the body;

           b) The Products’ propensities for degradation, fragmentation and/or creep;

           c) The Products’ inelasticity preventing proper mating with the pelvic floor and vaginal
              region;

           d) The frequency and manner of mesh erosion or extrusion;

           e) The risk of chronic inflammation resulting from the Products;

           f) The risk of chronic infections resulting from the Products;

           g) The risk of permanent vaginal or pelvic scarring as a result of the Products;



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             h) The risk of recurrent, intractable pelvic pain and other pain resulting from the
                Products;

             i) The need for corrective or revision surgery to adjust or remove the Products;

             j) The severity of complications that could arise as a result of implantation of the
                Products;

             k) The hazards associated with the Products;

             l) The Products’ defects described herein;

             m) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
                is no more effective than feasible available alternatives;

             n) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
                exposes patients to greater risk than feasible available alternatives;

             o) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
                makes future surgical repair more difficult than feasible available alternatives;

             p) Use of the Products puts the patient at greater risk of requiring additional surgery than
                feasible available alternatives;

             q) Removal of the Products due to complications may involve multiple surgeries and
                may significantly impair the patient’s quality of life; and

             r) Complete removal of the Products may not be possible and may not result in
                complete resolution of the complications, including pain.

                                                     38.

             Defendants under reported and continues to underreport information about the propensity

    of the Products to fail and cause injury and complications, and have made unfounded

    representations regarding the efficacy and safety of the Products through various means and

    media.




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                                                    39.

           Defendants failed to perform proper and adequate testing and research in order to

    determine and evaluate the nature, magnitude and frequency of the risks attendant to the

    Products.

                                                    40.

           Defendant(s) failed to design and establish a safe, effective procedure for removal of the

    Products, or to determine if a safe, effective procedure for removal of the Products exists.

                                                    41.

           Feasible and suitable alternatives to the Products have existed at all times relevant that do

    not present the same frequency or severity of risks as do the Products.

                                                    42.

           The Products were at all times utilized and implanted in a manner foreseeable to

    Defendants, as Defendants generated the instructions for use, created the procedures for

    implanting the devices, and trained the implanting physician.

                                                    43.

           Defendants knowingly provided incomplete and insufficient training and information to

    physicians regarding the use of the Products and the aftercare of patients implanted with the

    Products.

                                                    44.

           The Products implanted in the female Plaintiff named in the Short Form Complaint were

    in the same or substantially similar condition as they were when they left Defendants’

    possession, and in the condition directed by and expected by Defendants.




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                                                    45.

           The injuries, conditions, and complications suffered by numerous women around the

    world who have been implanted with the Products include, but are not limited to, erosion, mesh

    contraction, infection, fistula, inflammation, scar tissue, organ perforation, dyspareunia (pain

    during sexual intercourse), blood loss, neuropathic and other acute and chronic nerve damage

    and pain, pudendal nerve damage, pelvic floor damage, and chronic pelvic pain.

                                                    46.

           In many cases, including the female Plaintiff named in the Short Form Complaint,

    women have been forced to undergo extensive medical treatment including, but not limited to,

    operations to locate and remove mesh, operations to attempt to repair pelvic organs, tissue, and

    nerve damage, the use of pain control and other medications, injections into various areas of the

    pelvis, spine, and the vagina, and operations to remove portions of the female genitalia.

                                                    47.

           The medical and scientific literature studying the effects of the Products, like that of the

    product(s) implanted in the relevant female Plaintiff named in the Short Form Complaint, has

    examined each of these injuries, conditions, and complications, and has reported that they are

    causally related to the Products.

                                                    48.

           Removal of contracted, eroded and/or infected mesh can require multiple surgical

    interventions for removal of mesh and results in scarring on fragile compromised pelvic tissue

    and muscles.




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                                                     49.

              At all relevant times herein, Defendants continued to promote the Products as safe and

    effective even when no clinical trials had been done supporting long- or short-term efficacy or

    safety.

                                                     50.

              In doing so, Defendants failed to disclose the known risks and failed to warn of known or

    scientifically knowable dangers and risks associated with the Products, including the magnitude

    and frequency of these risks.

                                                     51.

              At all relevant times herein, Defendants failed to provide sufficient warnings and

    instructions that would have put the female Plaintiff named in the Short Form Complaint and the

    general public on notice of the dangers and adverse effects caused by implantation of the

    Products.

                                                     52.

              The Products as designed, manufactured, distributed, sold and/or supplied by Defendants

    were defective as marketed due to inadequate warnings, instructions, labeling and/or inadequate

    testing in the presence of Defendants’ knowledge of lack of safety.

                                                     53.

              As a result of having the Products implanted in her, the female Plaintiff named in the

    Short Form Complaint has experienced significant mental and physical pain and suffering, has

    sustained permanent injury, has undergone medical treatment and will likely undergo further

    medical treatment and procedures, has suffered financial or economic loss, including, but not

    limited to, obligations for medical services and expenses, and/or lost income, and other damages.




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                                          CAUSES OF ACTION

                                       COUNT I: NEGLIGENCE

                                                    54.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.

                                                    55.

            Defendants had a duty to individuals, including the female Plaintiff named in the Short

    Form Complaint, to use reasonable care in designing, manufacturing, marketing, labeling,

    packaging and selling the Products.

                                                    56.

            Defendants were negligent in failing to use reasonable care as described herein in

    designing, manufacturing, marketing, labeling, packaging and selling the Products. Defendant(s)

    breached their aforementioned duty by, among other things:

            a) Failing to design the Products so as to avoid an unreasonable risk of harm to women
               in whom the Products were implanted, including the female Plaintiff named in the
               Short Form Complaint;

            b) Failing to manufacture the Products so as to avoid an unreasonable risk of harm to
               women in whom the Products were implanted, including the female Plaintiff named
               in the Short Form Complaint;

            c) Failing to use reasonable care in the testing of the Products so as to avoid an
               unreasonable risk of harm to women in whom the Products were implanted, including
               the female Plaintiff named in the Short Form Complaint;

            d) Failing to use reasonable care in inspecting the Products so as to avoid an
               unreasonable risk of harm to women in whom the Products were implanted, including
               the female Plaintiff named in the Short Form Complaint;

            e) Failing to use reasonable care in the training and instruction to physicians for the safe
               use of the Products;




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           f) Failing to use reasonable care in studying the Products to evaluate their safety and to
              determine the nature, magnitude, and frequency of serious, life threatening
              complications that were known or knowable; and

           g) Otherwise negligently or carelessly designing, manufacturing, marketing, labeling,
              packaging and/or selling the Products.

                                                       57.

           The reasons that Defendants’ negligence caused the Products to be unreasonably

    dangerous and defective include, but are not limited to:

           a) The use of polypropylene and/or collagen material in the Products and the immune
              reaction that results from such material, causing adverse reactions and injuries;

           b) The design of the Products to be inserted into and through an area of the body with
              high levels of bacteria that adhere to the mesh causing immune reactions and
              subsequent tissue breakdown and adverse reactions and injuries;

           c) Biomechanical issues with the design of the Products, including, but not limited to,
              the propensity of the Products to contract or shrink inside the body, that in turn cause
              surrounding tissue to be inflamed, become fibrotic, and contract, resulting in injury;

           d) The use and design of arms and anchors in the Products, which, when placed in the
              women, are likely to pass through contaminated spaces and injure major nerve routes
              in the pelvic region;

           e) The propensity of the Products for “creep,” or to gradually elongate and deform when
              subject to prolonged tension inside the body;

           f) The inelasticity of the Products, causing them to be improperly mated to the delicate
              and sensitive areas of the pelvis where they are implanted, and causing pain upon
              normal daily activities that involve movement in the pelvis (e.g., intercourse,
              defecation);

           g) The propensity of the Products for degradation or fragmentation over time, which
              causes a chronic inflammatory and fibrotic reaction, and results in continuing injury
              over time;

           h) The hyper-inflammatory responses to collagen leading to problems including chronic
              pain and fibrotic reaction;

           i) The propensity of the collagen products to disintegrate after implantation in the
              female pelvis, causing pain and other adverse reactions;




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           j) The adverse tissue reactions caused by the collagen products, which are causally
              related to infection, as the collagen is a foreign organic material from animals;

           k) The harshness of collagen upon the female pelvic tissue; and

           l) The creation of a non-anatomic condition in the pelvis leading to chronic pain and
              functional disabilities when the mesh is implanting according to the manufacturers’
              instructions.

                                                   58.

           Defendants also negligently failed to warn or instruct the female Plaintiff named in the

    Short Form Complaint and/or her health care providers of subjects including, but not limited to,

    the following:

           a) The Products’ propensities to contract, retract, and/or shrink inside the body;

           b) The Products’ propensities for degradation, fragmentation and/or creep;

           c) The Products’ inelasticity preventing proper mating with the pelvic floor and vaginal
              region;

           d) The rate and manner of mesh erosion or extrusion;

           e) The risk of chronic inflammation resulting from the Products;

           f) The risk of chronic infections resulting from the Products;

           g) The risk of permanent vaginal or pelvic scarring as a result of the Products;

           h) The risk of recurrent, intractable pelvic pain and other pain resulting from the
              Products;

           i) The need for corrective or revision surgery to adjust or remove the Products;

           j) The severity of complications that could arise as a result of implantation of the
              Products;

           k) The hazards associated with the Products;

           l) The Products’ defects described herein;

           m) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
              is no more effective than feasible available alternatives;



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            n) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
               exposes patients to greater risk than feasible available alternatives;

            o) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
               makes future surgical repair more difficult than feasible available alternatives;

            p) Use of the Products puts the patient at greater risk of requiring additional surgery than
               feasible available alternatives;

            q) Removal of the Products due to complications may involve multiple surgeries and
               may significantly impair the patient’s quality of life; and

            r) Complete removal of the Products may not be possible and may not result in
               complete resolution of the complications, including pain.

                                                    59.

            As a direct and proximate result of Defendants’ negligence, the female Plaintiff named in

    the Short Form Complaint has experienced significant mental and physical pain and suffering,

    has sustained permanent injury, has undergone medical treatment and will likely undergo further

    medical treatment and procedures, has suffered financial or economic loss, including, but not

    limited to, obligations for medical services and expenses, lost income, and other damages.

                         COUNT II: STRICT LIABILITY – DESIGN DEFECT

                                                    60.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.

                                                    61.

            The Products implanted in the female Plaintiff named in the Short Form Complaint were

    not reasonably safe for their intended uses and were defective as described herein with respect to

    their design. As previously stated, the Products’ design defects include, but are not limited to:

            a) The use of polypropylene and/or collagen material in the Products and the immune
               reaction that results from such material, causing adverse reactions and injuries;



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          b) The design of the Products to be inserted into and through an area of the body with
             high levels of bacteria that adhere to the mesh causing immune reactions and
             subsequent tissue breakdown and adverse reactions and injuries;

          c) Biomechanical issues with the design of the Products, including, but not limited to,
             the propensity of the Products to contract or shrink inside the body, that in turn cause
             surrounding tissue to be inflamed, become fibrotic, and contract, resulting in injury;

          d) The use and design of arms and anchors in the Products, which, when placed in the
             women, are likely to pass through contaminated spaces and injure major nerve routes
             in the pelvic region;

          e) The propensity of the Products for “creep,” or to gradually elongate and deform when
             subject to prolonged tension inside the body;

          f) The inelasticity of the Products, causing them to be improperly mated to the delicate
             and sensitive areas of the pelvis where they are implanted, and causing pain upon
             normal daily activities that involve movement in the pelvis (e.g., intercourse,
             defecation);

          g) The propensity of the Products for degradation or fragmentation over time, which
             causes a chronic inflammatory and fibrotic reaction, and results in continuing injury
             over time;

          h) The hyper-inflammatory responses to collagen leading to problems including chronic
             pain and fibrotic reaction;

          i) The propensity of the collagen products to disintegrate after implantation in the
             female pelvis, causing pain and other adverse reactions;

          j) The adverse tissue reactions caused by the collagen products, which are causally
             related to infection, as the collagen is a foreign organic material from animals and/or
             human cadavers;

          k) The harshness of collagen upon the female pelvic tissue, and the hardening of the
             product in the body;

          l) The creation of a non-anatomic condition in the pelvis leading to chronic pain and
             functional disabilities when the mesh is implanting according to the manufacturers’
             instructions, and

          m) The use of polypropylene material in the products and the failure to provide adequate
             directions for use (DFU) and training.




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                                                   62.

            As a direct and proximate result of the Products’ aforementioned defects as described

    herein, the female Plaintiff named in the Short Form Complaint has experienced significant

    mental and physical pain and suffering, has sustained permanent injury, has undergone medical

    treatment and will likely undergo future medical treatment and procedures, has suffered financial

    or economic loss, including, but not limited to, obligations for medical services and expenses,

    lost income, and other damages.

                                                   63.

            Defendants are strictly liable to the female Plaintiff named in the Short Form Complaint

    for designing, manufacturing, marketing, labeling, packaging and selling a defective product(s).

                 COUNT III: STRICT LIABILITY – MANUFACTURING DEFECT

                                                   64.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.

                                                   65.

            The Products implanted in the female Plaintiff named in the Short Form Complaint were

    not reasonably safe for their intended uses and were defective as described herein as a matter of

    law with respect to their manufacture, in that they deviated materially from Defendants’ design

    and manufacturing specifications in such a manner as to pose unreasonable risks of serious

    bodily harm to the female Plaintiff named in the Short Form Complaint.

                                                   66.

            As a direct and proximate result of the Products’ aforementioned defects as described

    herein, the female Plaintiff named in the Short Form Complaint has experienced significant




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    mental and physical pain and suffering, has sustained permanent injury, has undergone medical

    treatment and/or corrective surgery and hospitalization, has suffered financial or economic loss,

    including, but not limited to, obligations for medical services and expenses, and/or lost income,

    and other damages.

                                                    67.

            Defendants are strictly liable to the female Plaintiff named in the Short Form Complaint

    for designing, manufacturing, marketing, labeling, packaging and selling defective products.

                        COUNT IV: STRICT LIABILITY – FAILURE TO WARN

                                                     68.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.

                                                    69.

            The Products implanted in the female Plaintiff named in the Short Form Complaint were

    not reasonably safe for their intended uses and were defective as described herein as a matter of

    law due to their lack of appropriate and necessary warnings. Specifically, Defendants did not

    provide sufficient or adequate warnings regarding, among other subjects:

            a) The Products’ propensities to contract, retract, and/or shrink inside the body;

            b) The Products’ propensities for degradation, fragmentation, disintegration and/or
               creep;

            c) The Products’ inelasticity preventing proper mating with the pelvic floor and vaginal
               region;

            d) The rate and manner of mesh erosion or extrusion;

            e) The risk of chronic inflammation resulting from the Products;

            f) The risk of chronic infections resulting from the Products;




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           g) The risk of permanent vaginal or pelvic scarring as a result of the Products;

           h) The risk of recurrent, intractable pelvic pain and other pain resulting from the
              Products;

           i) The need for corrective or revision surgery to adjust or remove the Products;

           j) The severity of complications that could arise as a result of implantation of the
              Products;

           k) The hazards associated with the Products;

           l) The Products’ defects described herein;

           m) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
              is no more effective than feasible available alternatives;

           n) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
              exposes patients to greater risk than feasible available alternatives;

           o) Treatment of pelvic organ prolapse and stress urinary incontinence with the Products
              makes future surgical repair more difficult than feasible available alternatives;

           p) Use of the Products puts the patient at greater risk of requiring additional surgery than
              feasible available alternatives;

           q) Removal of the Products due to complications may involve multiple surgeries and
              may significantly impair the patient’s quality of life;

           r) Complete removal of the Products may not be possible and may not result in
              complete resolution of the complications, including pain; and

           s) The nature, magnitude and frequency of complications that could arise as a result of
              implantation of the Products.

                                                   70.

           As a direct and proximate result of the Products’ aforementioned defects as described

    herein, the female Plaintiff named in the Short Form Complaint has experienced significant

    mental and physical pain and suffering, has sustained permanent injury, has undergone medical

    treatment and will likely undergo further medical treatment and procedures, has suffered




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    financial or economic loss, including, but not limited to, obligations for medical services and

    expenses, and/or lost income, and other damages.

                                                    71.

            Defendants are strictly liable to the female Plaintiff named in the Short Form Complaint

    for designing, manufacturing, marketing, labeling, packaging and selling a defective product(s).

                           COUNT V: BREACH OF EXPRESS WARRANTY

                                                    72.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.

                                                    73.

            Defendants made assurances as described herein to the general public, hospitals and

    health care professionals that the Products were safe and reasonably fit for their intended

    purposes.

                                                    74.

            The female Plaintiff named in the Short Form Complaint and/or her healthcare provider

    chose the Products based upon Defendants’ warranties and representations as described herein

    regarding the safety and fitness of the Products.

                                                    75.

            The female Plaintiff named in the Short Form Complaint, individually and/or by and

    through her physician, reasonably relied upon Defendants’ express warranties and guarantees

    that the Products were safe, merchantable, and reasonably fit for their intended purposes.




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                                                   76.

            Defendants breached these express warranties because the Products implanted in the

    female Plaintiff named in the Short Form Complaint were unreasonably dangerous and defective

    as described herein and not as Defendant(s) had represented.

                                                   77.

            Defendants’ breach of their express warranties resulted in the implantation of an

    unreasonably dangerous and defective products in the body of the female Plaintiff named in the

    Short Form Complaint, placing said Plaintiff’s health and safety in jeopardy.

                                                   78.

            As a direct and proximate result of Defendants’ breach of the aforementioned express

    warranties, the female Plaintiff named in the Short Form Complaint has experienced significant

    mental and physical pain and suffering, has sustained permanent injury, has undergone medical

    treatment and will likely undergo further medical treatment and procedures, has suffered

    financial or economic loss, including, but not limited to, obligations for medical services and

    expenses, and/or lost income, and other damages.

                             COUNT VI: BREACH OF IMPLIED WARRANTY

                                                   79.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.

                                                   80.

            Defendants impliedly warranted that the Products were merchantable and were fit for the

    ordinary purposes for which they were intended.




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                                                       81.

           When the Products were implanted in the female Plaintiff named in the Short Form

    Complaint to treat her pelvic organ prolapse and/or stress urinary incontinence, the Products

    were being used for the ordinary purposes for which they were intended.

                                                       82.

           The female Plaintiff named in the Short Form Complaint, individually and/or by and

    through her physician, relied upon Defendants’ implied warranties of merchantability in

    consenting to have the Products implanted in her.

                                                       83.

           Defendants breached these implied warranties of merchantability because the Products

    implanted in the female Plaintiff named in the Short Form Complaint were neither merchantable

    nor suited for their intended uses as warranted.

                                                       84.

           Defendants’ breach of their implied warranties resulted in the implantation of

    unreasonably dangerous and defective products in the body of the female Plaintiff named in the

    Short Form Complaint, placing said Plaintiff’s health and safety in jeopardy.

                                                       85.

           As a direct and proximate result of Defendants’ breach of the aforementioned implied

    warranties, the female Plaintiff named in the Short Form Complaint has experienced significant

    mental and physical pain and suffering, has sustained permanent injury, has undergone medical

    treatment and will likely undergo further medical treatment and procedures, has suffered

    financial or economic loss, including, but not limited to, obligations for medical services and

    expenses, and/or lost income, and other damages.




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                                 COUNT VII: LOSS OF CONSORTIUM

                                                     86.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.

                                                     87.

            As a direct and proximate result of the above-described injuries sustained by the female

    Plaintiff named in the Short Form Complaint, where applicable, her spouse named in the Short

    Form Complaint has suffered a loss of consortium, companionship, society, affection, services

    and support.

     COUNT VIII: DISCOVERY RULE, TOLLING AND FRAUDULENT CONCEALMENT

                                                     88.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.

                                                     89.

            Plaintiffs assert all applicable state statutory and common law rights and theories related

    to the tolling or extension of any applicable statute of limitations, including equitable tolling,

    class action tolling, delayed discovery, discovery rule, and fraudulent concealment.

                                                     90.

            Plaintiffs plead that the discovery rule should be applied to toll the running of the statute

    of limitations until Plaintiffs knew, or through the exercise of reasonable care and diligence

    should have known, of facts indicating that Plaintiffs had been injured, the cause of the injury,

    and the tortious nature of the wrongdoing that caused the injury.




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                                                     91.

            Despite diligent investigation by Plaintiffs, including the female Plaintiff named in

    Plaintiff’s Short-Form Complaint, into the cause of their injuries, including consultations with

    Plaintiffs’ medical providers, the nature of Plaintiffs’ injuries and damages, and their relationship

    to the Products was not discovered, and through reasonable care and due diligence could not

    have been discovered, until a date within the applicable statute of limitations for filing Plaintiffs’

    claims. Therefore, under appropriate application of the discovery rule, Plaintiffs’ suit was filed

    well within the applicable statutory limitations period.

                                                     92.

            The running of the statute of limitations in this cause is tolled due to equitable tolling.

    Defendants are estopped from asserting a statute of limitations defense due to Defendants’

    fraudulent concealment, through affirmative misrepresentations and omissions, from Plaintiffs

    and Plaintiffs’ physicians of the true risks associated with the Products.           As a result of

    Defendants’ fraudulent concealment, Plaintiffs and Plaintiffs’ physicians were unaware, and

    could not have known or have learned through reasonable diligence that Plaintiffs had been

    exposed to the risks alleged herein and that those risks were the direct and proximate result of the

    wrongful acts and omissions of the Defendants.

                                  COUNT IX: PUNITIVE DAMAGES

                                                      93.

            All previous paragraphs of this Master Complaint are hereby incorporated by reference as

    if fully set forth herein.




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                                                    94.

           Defendants sold their Products to the healthcare providers of the Plaintiff named in the

    Short Form Complaint and other healthcare providers in the state of implantation and throughout

    the United States without doing adequate testing to ensure that the Products were reasonably safe

    for implantation in the female pelvic area.

                                                    95.

           Defendants sold the Products to Plaintiffs’, including the female Plaintiff named in the

    Short Form Complaint, health care providers and other health care providers in the state of

    implantation and throughout the United States in spite of their knowledge that the Products can

    shrink, disintegrate and/or degrade inside the body, and cause the other problems heretofore set

    forth in this complaint, thereby causing severe and debilitating injuries suffered by the Plaintiff

    named in the Short Form Complaint and numerous other women.

                                                    96.

           Defendants ignored reports from patients and health care providers throughout the United

    States and elsewhere of the Products’ failures to perform as intended, which lead to the severe

    and debilitating injuries suffered by the Plaintiff named in the Short Form Complaint and

    numerous other women. Rather than doing adequate testing to determine the cause of these

    injuries, or to rule out the Products’ designs or the processes by which the Products are

    manufactured as the cause of these injuries, Defendant(s) chose instead to continue to market and

    sell the Products as safe and effective.

                                                    97.

           Defendants knew the Products were unreasonably dangerous in light of their risks of

    failure, pain and suffering, loss of life’s enjoyment, remedial surgeries and treatments in an effort




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    to cure the conditions proximately related to the use of the Products, as well as other severe and

    personal injuries which were permanent and lasting in nature.

                                                   98.

           Defendants withheld material information from the medical community and the public in

    general, including the female Plaintiff named in the Short Form Complaint, regarding the safety

    and efficacy of the Products.

                                                   99.

           Defendants knew and recklessly disregarded the fact that the Products caused debilitating

    and potentially life altering complications with greater frequency than feasible alternative

    methods and/or products used to treat pelvic organ prolapse and stress urinary incontinence.

                                                   100.

           Defendants misstated and misrepresented data and continue to misrepresent data so as to

    minimize the perceived risk of injuries caused by the Products.

                                                   101.

           Notwithstanding the foregoing, Defendants continue to aggressively market the Products

    to consumers, without disclosing the true risks associated with the Products.

                                                   102.

           Defendants knew of the Products’ defective and unreasonably dangerous nature, but

    continued to mislead physicians and patients and to manufacture, market, distribute, and sell the

    Products so as to maximize sales and profits at the expense of the health and safety of the public,

    including the female Plaintiff named in the Short Form Complaint.




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                                                   103.

          Defendants continue to conceal and/or fail to disclose to the public, including the Plaintiff

    named in the Short Form Complaint, the serious complications associated with the use of the

    Products to ensure continued and increased sales of the Products.

                                                   104.

          Defendants’ conduct as described herein shows willful misconduct, malice, fraud,

    wantonness, oppression, or that entire want of care which raises the presumption of conscious

    indifference to consequences, thereby justifying an award of punitive damages.

          WHEREFORE, the Plaintiffs demand judgment against Defendants, and each of them,

    individually, jointly and severally, and request compensatory damages, together with interest,

    cost of suit, attorneys’ fees, and all such other relief as the Court deems just and proper as well

    as:

           •   Compensatory damages to Plaintiffs for past, present, and future damages, including
               but not limited to, pain and suffering for severe and permanent personal injuries
               sustained by Plaintiffs, emotional distress, mental anguish, physical disfigurement
               and impairment; health and medical care costs, together with pre- and post-judgment
               interest and costs as provided by law;

           •   Restitution and disgorgement of profits;

           •   Reasonable attorneys’ fees;

           •   The costs of these proceedings;

           •   All ascertainable economic damages;

           •   Punitive damages;

           •   Survival damages (if applicable);

           •   Wrongful death damages (if applicable); and

           •   Such other and further relief as this Court deems just and proper.



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    PLAINTIFFS DEMAND A TRIAL BY JURY.



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